                                                                                                  Case 1-04-17182-jf                      Doc 1         Filed 05/13/04                Entered 05/13/04 13:43:26

                                                                             (Official Form 1) (12/03)
                                                                              FORM B1                                    United States Bankruptcy Court
                                                                                                                          Eastern Distrcit of New York                                                             Voluntary Petition

                                                                             Name of Debtor (if individual, enter Last, First, Middle):                               Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                              Sebastiano, Neil

                                                                             All Other Names used by the Debtor in the last 6 years                                   All Other Names used by the Joint Debtor in the last 6 years
                                                                             (include married, maiden, and trade names):                                              (include married, maiden, and trade names):
                                                                               None


                                                                             Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No. Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No.
                                                                             (if more than one, state all): 1401                              (if more than one, state all):
                                                                             Street Address of Debtor (No. & Street, City, State & Zip Code):                         Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                              8405 Bay Parkway, Apt C-5
                                                                              Brooklyn, NY 11214


                                                                             County of Residence or of the                                                            County of Residence or of the
                                                                             Principal Place of Business:               Brooklyn (Kings)                              Principal Place of Business:
                                                                             Mailing Address of Debtor (if different from street address):                            Mailing Address of Joint Debtor (if different from street address):




                                                                             Location of Principal Assets of Business Debtor
                                                                             (if different from street address above):



                                                                                                             Information Regarding the Debtor (Check the Applicable Boxes)
                                                                               Venue (Check any applicable box)
                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
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                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                                Type of Debtor (Check all boxes that apply)
                                                                                                                                                                            Chapter or Section of Bankruptcy Code Under Which
                                                                                      Individual(s)                            Railroad
                                                                                                                                                                                     the Petition is Filed (Check one box)
                                                                                      Corporation                                         Stockbroker
                                                                                                                                                                          Chapter 7             Chapter 11          Chapter 13
                                                                                      Partnership                                         Commodity Broker
                                                                                                                                                                          Chapter 9                 Chapter 12
                                                                                      Other                                               Clearing Bank
                                                                                                Nature of Debts (Check one box)
                                                                                      Consumer/Non-Business                 Business                                      Filing Fee (Check one box)
                                                                                                                                                                         Full Filing Fee attached
                                                                                       Chapter 11 Small Business (Check all boxes that apply)
                                                                                                                                                                         Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                      Debtor is a small business as defined in 11 U.S.C. § 101                           Must attach signed application for the court's consideration
                                                                                      Debtor is and elects to be considered a small business under                       certifying that the debtor is unable to pay fee except in installments.
                                                                                      11 U.S.C. § 1121(e) (Optional)                                                     Rule 1006(b). See Official Form No. 3.
                                                                                                                                                                                                                 THIS SPACE IS FOR COURT USE ONLY
                                                                                Statistical/Administrative Information (Estimates only)
                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
                                                                                   be no funds available for distribution to unsecured creditors.

                                                                                                                         1-15     16-49         50-99       100-199     200-999   1000-over
                                                                               Estimated Number of Creditors

                                                                               Estimated Assets
                                                                                 $0 to      $50,001 to   $100,001 to        $500,001 to     $1,000,001 to   $10,000,001 to   $50,000,001 to    More than
                                                                                $50,000      $100,000     $500,000           $1 million      $10 million     $50 million      $100 million    $100 million


                                                                               Estimated Debts
                                                                                 $0 to      $50,001 to    $100,001 to       $500,001 to     $1,000,001 to   $10,000,001 to   $50,000,001 to    More than
                                                                                $50,000      $100,000      $500,000          $1 million      $10 million     $50 million      $100 million    $100 million
                                                                                                 Case 1-04-17182-jf                Doc 1        Filed 05/13/04             Entered 05/13/04 13:43:26
                                                                  (Official Form 1) (12/03)                                                                                                                        FORM B1, Page 2
                                                                             Voluntary Petition                                                            Name of Debtor(s):
                                                                             (This page must be completed and filed in every case)                              Neil Sebastiano
                                                                                                 Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                             Location
                                                                                                NONE                                         Case Number:                             Date Filed:
                                                                             Where Filed:
                                                                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                             Name of Debtor: NONE                                                          Case Number:                             Date Filed:

                                                                                                                                                           Relationship:                            Judge:
                                                                             District:


                                                                                  Signature(s) of Debtor(s) (Individual/Joint)
                                                                                                                                             Signatures                                     Exhibit A
                                                                             I declare under penalty of perjury that the information provided in this            (To be completed if debtor is required to file periodic reports
                                                                             petition is true and correct.                                                       (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                             [If petitioner is an individual whose debts are primarily consumer debts            Commission pursuant to Section 13 or 15(d) of the Securities
                                                                             and has chosen to file under chapter 7] I am aware that I may proceed              Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                             under chapter 7, 11, 12, or 13 of title 11, United States Code, understand          Exhibit A is attached and made a part of this petition.
                                                                             the relief available under each such chapter, and choose to proceed
                                                                             under chapter 7.
                                                                             I request relief in accordance with the chapter of title 11, United States                                      Exhibit B
                                                                             Code, specified in this petition.                                                             ( (To be completed if debtor is an individual
                                                                                                                                                                            whose debts are primarily consumer debts)
                                                                              X      /s/ Neil Sebastiano                                                   I, the attorney for the petitioner named in the foregoing petition, declare
                                                                                                                                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                 Signature of Debtor                                                       chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                           explained the relief available under each such chapter.
                                                                              X
                                                                                 Signature of Joint Debtor
                                                                                                                                                           X     /s/ Donna Vlahakis                           5/3/04
                                                                                                                                                              Signature of Attorney for Debtor(s)                      Date
                                                                                 Telephone Number (If not represented by attorney)
                                                                                     5/3/04                                                                                               Exhibit C
                                                                                 Date                                                                       Does the debtor own or have possession of any property that poses
                                                                                                                                                            or is alleged to pose a threat of imminent and identifiable harm to
                                                                                                 Signature of Attorney                                      public health or safety?
                                                                              X      /s/ Donna Vlahakis                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                                  Signature of Attorney for Debtor(s)
                                                                                                                                                                 No
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                                                                                  DONNA VLAHAKIS DV7654
                                                                                  Printed Name of Attorney for Debtor(s)                                              Signature of Non-Attorney Petition Preparer
                                                                                                                                                           I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
                                                                                  HANNA & VLAHAKIS
                                                                                                                                                           § 110, that I prepared this document for compensation, and that I have
                                                                                  Firm Name                                                                provided the debtor with a copy of this document.
                                                                                  7504 Fifth Avenue
                                                                                 Address
                                                                                                                                                              Printed Name of Bankruptcy Petition Preparer
                                                                                  Brooklyn, NY 11209

                                                                                  718-680-8400                                                                Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                                 Telephone Number
                                                                                  5/3/04                                                                      Address
                                                                                  Date

                                                                                     Signature of Debtor (Corporation/Partnership)                            Names and Social Security numbers of all other individuals who
                                                                              I declare under penalty of perjury that the information provided in this        prepared or assisted in preparing this document:
                                                                              petition is true and correct, and that I have been authorized to file this
                                                                              petition on behalf of the debtor.
                                                                              The debtor requests relief in accordance with the chapter of title 11,           If more than one person prepared this document, attach
                                                                              United States Code, specified in this petition.                                  additional sheets conforming to the appropriate official form for
                                                                                                                                                               each person.
                                                                              X
                                                                                  Signature of Authorized Individual                                        X
                                                                                                                                                              Signature of Bankruptcy Petition Preparer
                                                                                 Printed Name of Authorized Individual
                                                                                                                                                              Date
                                                                                 Title of Authorized Individual                                             A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                            of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                 Date                                                                       in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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                                                                             FORM B6 - Cont.
                                                                             (6/90)


                                                                                                    United States Bankruptcy Court
                                                                                                                               Eastern Distrcit of New York
                                                                                          Neil Sebastiano

                                                                                 In re                                                                                           Case No.
                                                                                                                 Debtor                                                                               (If known)




                                                                                                                             SUMMARY OF SCHEDULES

                                                                             Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D,
                                                                             E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
                                                                             amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.

                                                                                                                                                                                  AMOUNTS SCHEDULED
                                                                                                                  ATTACHED
                                                                                  NAME OF SCHEDULE                 (YES/NO)      NO. OF SHEETS             ASSETS                       LIABILITIES                OTHER


                                                                               A - Real Property                    YES               1            $                         0


                                                                               B - Personal Property                YES               3            $                   9,050


                                                                               C - Property Claimed                 YES               1
                                                                                   As Exempt


                                                                               D - Creditors Holding                YES               1                                          $                    0
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                                                                                   Secured Claims


                                                                               E - Creditors Holding Unsecured      YES               1                                          $                    0
                                                                                   Priority Claims


                                                                               F - Creditors Holding Unsecured      YES               2                                          $               34,267
                                                                                   Nonpriority Claims


                                                                               G - Executory Contracts and          YES               1
                                                                                   Unexpired Leases


                                                                               H - Codebtors                        YES               1


                                                                               I - Current Income of                YES               1                                                                   $                2,496
                                                                                   Individual Debtor(s)


                                                                               J - Current Expenditures of          YES               1                                                                   $                2,574
                                                                                   Individual Debtor(s)

                                                                                                    Total Number of Sheets
                                                                                                          in ALL Schedules            13


                                                                                                                                  Total Assets                         9,050


                                                                                                                                                         Total Liabilities                       34,267
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                                                                             FORM B6A
                                                                             (10/89)

                                                                                        Neil Sebastiano
                                                                               In re                                                                              Case No.
                                                                                                              Debtor                                                                    (if known)

                                                                                                                       SCHEDULE A - REAL PROPERTY
                                                                                 Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including
                                                                             all property owned as a co-tenant, community property, or in which the debtor has a life estate. Include any property in
                                                                             which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is married, state whether
                                                                             husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint,
                                                                             or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

                                                                               Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G -
                                                                             Executory Contracts and Unexpired Leases.

                                                                               If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim.
                                                                             See Schedule D. If no entity claims to hold a secured interest in the property, write "None" in the column labeled
                                                                             "Amount of Secured Claim."

                                                                                If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property
                                                                             only in Schedule C - Property Claimed as Exempt.


                                                                                                                                                                        CURRENT
                                                                                                                                                                     MARKET VALUE
                                                                                                                                                                      OF DEBTOR'S
                                                                                            DESCRIPTION AND                                                           INTEREST IN                    AMOUNT OF
                                                                                              LOCATION OF                    NATURE OF DEBTOR'S                   PROPERTY WITHOUT                    SECURED
                                                                                               PROPERTY                     INTEREST IN PROPERTY                    DEDUCTING ANY                       CLAIM
                                                                                                                                                                    SECURED CLAIM
                                                                                                                                                                     OR EXEMPTION



                                                                                          NONE
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                                                                                                                                                   Total                                0
                                                                                                                                                           (Report also on Summary of Schedules)
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                                                                             FORM B6B
                                                                             (10/89)
                                                                                        Neil Sebastiano
                                                                               In re                                                                                Case No.
                                                                                                                 Debtor                                                           (if known)



                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one
                                                                             or more of the categories, place an "X" in the appropriate position in the column labeled "None." If additional space is
                                                                             needed in any category, attach a separate sheet properly identified with the case name, case number, and the number
                                                                             of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W,"
                                                                             "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is
                                                                             filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                               Do not list interests in executory contracts and unexpired leases on this schedule.               List them in Schedule G-
                                                                             Executory Contracts and Unexpired Leases.

                                                                               If the property is being held for the debtor by someone else, state that person's name and address under "Description
                                                                             and Location of Property."


                                                                                                                                                                                               CURRENT
                                                                                                                                                                                           MARKET VALUE OF
                                                                                                                                             DESCRIPTION AND LOCATION                     DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                    OF PROPERTY                           IN PROPERTY WITH-
                                                                                                                                                                                          OUT DEDUCTING ANY
                                                                                                                                                                                            SECURED CLAIM
                                                                                                                                                                                             OR EXEMPTION



                                                                              1.   Cash on hand.                          X
                                                                              2. Checking, savings or other                   Greenpoint bank                                                           200
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                                                                              financial accounts, certificates of
                                                                              deposit, or shares in banks, savings
                                                                              and loan, thrift, building and loan,
                                                                              and homestead associations, or credit
                                                                              unions, brokerage houses, or
                                                                              cooperatives.



                                                                              3. Security deposits with public                rent deposit                                                              850
                                                                              utilities, telephone companies,
                                                                              landlords, and others.


                                                                              4. Household goods and                          furniture                                                               1,000
                                                                              furnishings, including audio, video,
                                                                              and computer equipment.


                                                                              5. Books. Pictures and other art            X
                                                                              objects, antiques, stamp, coin, record,
                                                                              tape, compact disc, and other
                                                                              collections or collectibles.

                                                                              6.   Wearing apparel.                           clothes                                                                   500


                                                                              7.   Furs and jewelry.                      X
                                                                              8. Firearms and sports,                     X
                                                                              photographic, and other hobby
                                                                              equipment.
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                                                                             FORM B6B
                                                                             (10/89)
                                                                                        Neil Sebastiano
                                                                              In re                                                                                Case No.
                                                                                                                    Debtor                                                         (if known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                CURRENT
                                                                                                                                                                                            MARKET VALUE OF
                                                                                                                                            DESCRIPTION AND LOCATION                       DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                   OF PROPERTY                             IN PROPERTY WITH-
                                                                                                                                                                                           OUT DEDUCTING ANY
                                                                                                                                                                                             SECURED CLAIM
                                                                                                                                                                                              OR EXEMPTION



                                                                              9. Interests in insurance policies.            X
                                                                              Name insurance company of each
                                                                              policy and itemize surrender or
                                                                              refund value of each.

                                                                              10. Annuities. Itemize and name each           X
                                                                              issuer.

                                                                              11. Interests in IRA, ERISA, Keogh, or             Nycers Pension                                H                       6,000
                                                                              other pension or profit sharing plans.
                                                                               Itemize.


                                                                              12. Stock and interests in                     X
                                                                              incorporated and unincorporated
                                                                              businesses. Itemize.

                                                                              13. Interests in partnerships or joint         X
                                                                              ventures. Itemize.

                                                                              14. Government and corporate bonds             X
                                                                              and other negotiable and
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                                                                              non-negotiable instruments.

                                                                              15. Accounts receivable.                       X
                                                                              16. Alimony, maintenance, support,             X
                                                                              and property settlement to which the
                                                                              debtor is or may be entitled. Give
                                                                              particulars.

                                                                              17. Other liquidated debts owing               X
                                                                              debtor including tax refunds. Give
                                                                              particulars.

                                                                              18. Equitable or future interests, life        X
                                                                              estates, and rights or powers
                                                                              exercisable for the benefit of the
                                                                              debtor other than those listed in
                                                                              Schedule of Real Property.

                                                                              19. Contingent and noncontingent               X
                                                                              interests in estate or a decedent, death
                                                                              benefit plan, life insurance policy, or
                                                                              trust.

                                                                              20. Other contingent and                       X
                                                                              unliquidated claims of every nature,
                                                                              including tax refunds, counterclaims
                                                                              of the debtor, and rights of setoff
                                                                              claims. Give estimated value of each.

                                                                              21. Patents, copyrights, and other             X
                                                                              intellectual property. Give particulars.
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                                                                             FORM B6B
                                                                             (10/89)
                                                                                        Neil Sebastiano
                                                                              In re                                                                                       Case No.
                                                                                                                    Debtor                                                                   (if known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                          CURRENT
                                                                                                                                                                                                      MARKET VALUE OF
                                                                                                                                             DESCRIPTION AND LOCATION                                DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                    OF PROPERTY                                      IN PROPERTY WITH-
                                                                                                                                                                                                     OUT DEDUCTING ANY
                                                                                                                                                                                                       SECURED CLAIM
                                                                                                                                                                                                        OR EXEMPTION



                                                                              22. Licenses, franchises, and other            X
                                                                              general intangibles. Give particulars.

                                                                              23. Automobiles, trucks, trailers, and             1995 Chevy Over 135,000 Miles on car                    H                            500
                                                                              other vehicles and accessories.



                                                                              24. Boats, motors, and accessories.            X
                                                                              25. Aircraft and accessories.                  X
                                                                              26. Office equipment, furnishings,             X
                                                                              and supplies.

                                                                              27. Machinery, fixtures, equipment,            X
                                                                              and supplies used in business.

                                                                              28. Inventory.                                 X
                                                                              29. Animals.                                   X
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                                                                              30. Crops - growing or harvested.              X
                                                                              Give particulars.

                                                                              31. Farming equipment and                      X
                                                                              implements.

                                                                              32. Farm supplies, chemicals, and              X
                                                                              feed.

                                                                              33. Other personal property of any             X
                                                                              kind not already listed.




                                                                                                                                      0                                                                             9,050
                                                                                                                                          continuation sheets attached               Total      $


                                                                                                                                                                                             (Include amounts from any continuation
                                                                                                                                                                                             sheets attached. Report total also on
                                                                                                                                                                                             Summary of Schedules)
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                                                                             FORM B6C
                                                                             (6/90)
                                                                                          Neil Sebastiano
                                                                               In re                                                                                       Case No.
                                                                                                                   Debtor                                                                         (if known)



                                                                                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                                             Debtor elects the exemption to which debtor is entitled under
                                                                             (Check one box)
                                                                                  11 U.S.C. §522(b)(1)      Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.

                                                                                  11 U.S.C. §522(b)(2)      Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                                                                                                            been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
                                                                                                            period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the
                                                                                                            interest is exempt from process under applicable nonbankruptcy law.

                                                                                                                                           SPECIFY LAW                          VALUE OF                   CURRENT MARKET
                                                                                                                                                                                                          VALUE OF PROPERTY
                                                                                          DESCRIPTION OF PROPERTY                         PROVIDING EACH                        CLAIMED
                                                                                                                                                                                                          WITHOUT DEDUCTING
                                                                                                                                            EXEMPTION                          EXEMPTION                     EXEMPTIONS

                                                                              Greenpoint bank                                    NY Debt & Cred Law § 283(2)                                200                             200


                                                                              rent deposit                                       NY Civ Prac Law & Rules §                                  850                             850
                                                                                                                                 5205(g)


                                                                              furniture                                          NY Civ Prac Law & Rules §                                1,000                           1,000
                                                                                                                                 5205(a)(5)


                                                                              clothes                                            NY Civ Prac Law & Rules §                                  500                             500
                                                                                                                                 5205(a)(5)
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                                                                              Nycers Pension                                     NY Debt & Cred Law §                                     6,000                           6,000
                                                                                                                                 282(iii)(2)(e)


                                                                              1995 Chevy Over 135,000 Miles on car               NY Debt & Cred Law §                                       500                             500
                                                                                                                                 282(iii)(1)
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                                                                             Form B6D
                                                                             (12/03)
                                                                                        Neil Sebastiano
                                                                             In re _______________________________________________,                                                   Case No. _________________________________
                                                                                                             Debtor                                                                                                                        (If known)

                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                             by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                             useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                             such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order
                                                                             to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
                                                                             include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                             husband, wife, both of them, or the marital community may be liable on each claim by placing an “H”, “W”, “J”, or “C” in the column labeled
                                                                             “Husband, Wife, Joint, or Community.” If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is
                                                                             unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.”
                                                                             (You may need to place an “X” in more than one of these three columns.)

                                                                             Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also
                                                                             on the Summary of Schedules.
                                                                                 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       AMOUNT




                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                            CODEBTOR




                                                                                                                                                                                                                          DISPUTED
                                                                                           CREDITOR’S NAME,                                                                                                                             CLAIM
                                                                                           MAILING ADDRESS                                                         NATURE OF LIEN, AND                                                                  UNSECURED
                                                                                                                                                                 DESCRIPTION AND MARKET                                                WITHOUT           PORTION,
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                   VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                        AND ACCOUNT NUMBER                                                                                                                             VALUE OF
                                                                                          (See instructions above.)                                                  SUBJECT TO LIEN
                                                                                                                                                                                                                                     COLLATERAL

                                                                             ACCOUNT NO.
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                                                                                                                                                              VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                              VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                              VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                              VALUE $
                                                                               0                                                                                                            Subtotal '                               $         0
                                                                              _______ continuation sheets attached                                                                  (Total of this page)
                                                                                                                                                                                                Total '                              $         0
                                                                                                                                                                                 (Use only on last page)
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                                                    Case 1-04-17182-jf              Doc 1        Filed 05/13/04            Entered 05/13/04 13:43:26

                                                                             Form B6E
                                                                             (12/03)



                                                                                           Neil Sebastiano
                                                                                    In re________________________________________________________________,                        Case No.______________________________
                                                                                                           Debtor                                                                               (if known)

                                                                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                             unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                             address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                             property of the debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                             useful to the trustee and the creditor and may be provided if the debtor chooses to do so.

                                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                             entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both
                                                                             of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife, Joint, or
                                                                             Community."
                                                                                       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                             "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
                                                                             these three columns.)
                                                                                      Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
                                                                             Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

                                                                                    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                              TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                                   Extensions of credit in an involuntary case
                                                                                       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
                                                                             the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

                                                                                   Wages, salaries, and commissions
                                                                                       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
                                                                             qualifying independent sales representatives up to $4,650* per person earned within 90 days immediately preceding the filing of the original petition,
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                                                                             or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                                   Contributions to employee benefit plans
                                                                                       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or
                                                                             the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                   Certain farmers and fishermen
                                                                                          Claims of certain farmers and fishermen, up to $4,650* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

                                                                                  Deposits by individuals
                                                                                       Claims of individuals up to $2,100* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
                                                                             use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

                                                                                   Alimony, Maintenance, or Support
                                                                                       Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. §
                                                                             507(a)(7).

                                                                                   Taxes and Certain Other Debts Owed to Governmental Units
                                                                                      Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                                   Commitments to Maintain the Capital of an Insured Depository Institution
                                                                                       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                             Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                             U.S.C. § 507 (a)(9).
                                                                                        * Amounts are subject to adjustment on April 1, 2004, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                        adjustment.
                                                                                                                                           0 continuation sheets attached
                                                                                                                                         ____
                                                                                                  Case 1-04-17182-jf                                Doc 1                 Filed 05/13/04         Entered 05/13/04 13:43:26


                                                                             Form B6F (12/03)


                                                                                         Neil Sebastiano
                                                                               In re __________________________________________,                                                                     Case No. _________________________________
                                                                                                           Debtor                                                                                                                                 (If known)

                                                                                      SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
                                                                             without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
                                                                             debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
                                                                             Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
                                                                             entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of
                                                                             them, or the marital community maybe liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or
                                                                             Community.”
                                                                                       If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
                                                                             “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these
                                                                             three columns.)
                                                                                      Report total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also
                                                                             on the Summary of Schedules.
                                                                                        Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                            HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                              ORCOMMUNITY




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                             CODEBTOR




                                                                                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                  DISPUTED
                                                                                          CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                          MAILING ADDRESS                                                                 CONSIDERATION FOR CLAIM.
                                                                                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                             OF
                                                                                        INCLUDING ZIP CODE,                                                                                                                                                       CLAIM
                                                                                       AND ACCOUNT NUMBER                                                                          SO STATE.
                                                                                         (See instructions above.)

                                                                              ACCOUNT NO.       SEBASTIANO                                                         Incurred: 03-04
                                                                                                                                                                   Consideration: Revolving charge account
                                                                              American Musical Supply
                                                                              P.O. Box 152                                                                                                                                                                                 3,000
                                                                              Spicer, MN 56288
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                                                                             ACCOUNT NO.        7021270139054414                                                   Incurred: 2003
                                                                              Best Buy, Inc.                                                                       Consideration: Credit card debt
                                                                              Household Retail Services                                                                                                                                                                    1,985
                                                                              PO Box 15521
                                                                              Wilmington, DE 19850-5521


                                                                              ACCOUNT NO.       5176690009143798                                                   Incurred: 2003
                                                                                                                                                                   Consideration: Credit card debt
                                                                              Household Bank
                                                                              PO Box 19360                                                                                                                                                                                 1,650
                                                                              Portland, OR 97280



                                                                              ACCOUNT NO.       082501401                                                          Incurred: 2003
                                                                                                                                                                   Consideration: Accident
                                                                              Louis J. Mauriello
                                                                              One Edgewater Plaza, Suite 700                                                                                                                                                     Unknown
                                                                              Staten Island, NY 10305




                                                                                                                                        1                                                                          Subtotal '                                $             6,635
                                                                                                                           _______continuation sheets attached                                             (Total of this page)
                                                                                                                                                                                                                       Total '                               $
                                                                                                                                                                                                        (Use only on last page)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
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                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         Neil Sebastiano
                                                                                In re __________________________________________________,                                                         Case No. _________________________________
                                                                                                                 Debtor                                                                                                                           (If known)


                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                           ORCOMMUNITY




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                              CODEBTOR
                                                                                           CREDITOR’S NAME,




                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                                                                        DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                                           MAILING ADDRESS
                                                                                                                                                                          CONSIDERATION FOR CLAIM.                                                                OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                           CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       11056039630001                                                  Incurred: 6/03
                                                                                                                                                                Consideration: Credit card debt
                                                                              M&T Credit Corp.
                                                                              One Fountain Plaza, 3rd Fl.                                                                                                                                                           10,117
                                                                              POB Box 4005
                                                                              Buffalo, NY 14203


                                                                             ACCOUNT NO.        5329052084269939                                                Incurred: 1999-20003
                                                                              MBNA America                                                                      Consideration: Credit card debt
                                                                              PO Box 15026                                                                                                                                                                              3,615
                                                                              Wilmington, De 19850-5026
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                                                                              ACCOUNT NO.       4756410204110042                                                Incurred: 2002-2004
                                                                                                                                                                Consideration: Credit card debt
                                                                              Municipal Credit Union
                                                                              P.O. Box 3205                                                                                                                                                                             4,200
                                                                              New York, NY 10007



                                                                              ACCOUNT NO.       0001029785                                                      Incurred: 2002-2003
                                                                                                                                                                Consideration: Credit card debt
                                                                              Municipal Credit Union
                                                                              P.O. Box 3205                                                                                                                                                                             9,700
                                                                              New York, NY 10007



                                                                              ACCOUNT NO.                                                                       Incurred: 11/6/03
                                                                              Perian Lopez c/o Louis Maurello                                                   Consideration: car accident
                                                                              One Edgewater Plaza, Suite 700                                                                                                                                      X           Unknown
                                                                              Staten Island, NY 10305



                                                                                        1 of _____continuation
                                                                             Sheet no. _____    1                sheets attached to Schedule of Creditors                                                              Subtotal ' $                                 27,632
                                                                             Creditors Holding Unsecured Nonpriority Claims                                                                                    (Total of this page)
                                                                                                                                                                                                                          Total ' $                                 34,267
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                      (Report total also on Summary of Schedules)
                                                                                                Case 1-04-17182-jf         Doc 1       Filed 05/13/04   Entered 05/13/04 13:43:26


                                                                             FORM B6G
                                                                             (10/89)
                                                                                        Neil Sebastiano
                                                                               In re                                                                      Case No.
                                                                                                             Debtor                                                         (if known)


                                                                                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any
                                                                             timeshare interests.

                                                                                State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or
                                                                             lessee of a lease.

                                                                               Provide the names and complete mailing addresses of all other parties to each lease or contract described.

                                                                               NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also
                                                                             scheduled in the appropriate schedule of creditors.
                                                                                  Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                        NUMBER OF ANY GOVERNMENT CONTRACT
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                                                                                                Case 1-04-17182-jf      Doc 1     Filed 05/13/04      Entered 05/13/04 13:43:26


                                                                             FORM B6H
                                                                             (6/90)
                                                                                        Neil Sebastiano
                                                                               In re                                                                    Case No.
                                                                                                           Debtor                                                         (if known)



                                                                                                                    SCHEDULE H - CODEBTORS
                                                                                Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also
                                                                             liable on any debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. In community
                                                                             property states, a married debtor not filing a joint case should report the name and address of the nondebtor spouse on
                                                                             this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the
                                                                             commencement of this case.
                                                                                  Check this box if debtor has no codebtors.


                                                                                       NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR
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                                                                                                  Case 1-04-17182-jf             Doc 1       Filed 05/13/04           Entered 05/13/04 13:43:26


                                                                             Form B6I
                                                                             12/03


                                                                                        Neil Sebastiano
                                                                               In re________________________________________________ ,                                  Case No.____________________________________________
                                                                                                  Debtor                                                                                  (if known)
                                                                                                   SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                             The column labeled “Spouse” must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                                               Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                               Status:                        RELATIONSHIP                                                                      AGE
                                                                                   Married                             son                                                                                18
                                                                                                                       wife                                                                               38


                                                                               Employment:                              DEBTOR                                                               SPOUSE
                                                                               Occupation                       car cleaner
                                                                               Name of Employer                 NYC Transit
                                                                               How long employed                6yrs
                                                                               Address of Employer              130 Livingstion Street                                                          N.A.
                                                                                                                brooklyn, Ny,

                                                                             Income: (Estimate of average monthly income)                                                                  DEBTOR                         SPOUSE
                                                                             Current monthly gross wages, salary, and commissions
                                                                                   (pro rate if not paid monthly.)                                                                      $ _____________
                                                                                                                                                                                                  3,653             $ _____________
                                                                                                                                                                                                                           N.A.
                                                                             Estimated monthly overtime                                                                                 $ _____________
                                                                                                                                                                                                      0              $ _____________
                                                                                                                                                                                                                            N.A.
                                                                             SUBTOTAL                                                                                                              3,653
                                                                                                                                                                                         $ _____________                   N.A.
                                                                                                                                                                                                                     $ _____________
                                                                                   LESS PAYROLL DEDUCTIONS
                                                                                      a. Payroll taxes and social security                                                               $ _____________
                                                                                                                                                                                                       0             $ _____________
                                                                                                                                                                                                                           N.A.
                                                                                      b. Insurance                                                                                       $ _____________
                                                                                                                                                                                                       0             $ _____________
                                                                                                                                                                                                                           N.A.
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                                                                                      c. Union Dues                                                                                      $ _____________
                                                                                                                                                                                                       0             $ _____________
                                                                                                                                                                                                                           N.A.
                                                                                                         misc deds
                                                                                      d. Other (Specify:___________________________________________________________)                     $ _____________
                                                                                                                                                                                                   1,157             $ _____________
                                                                                                                                                                                                                           N.A.

                                                                                    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                       $ _____________
                                                                                                                                                                                                   1,157             $ _____________
                                                                                                                                                                                                                           N.A.

                                                                             TOTAL NET MONTHLY TAKE HOME PAY                                                                             $ _____________
                                                                                                                                                                                                   2,496             $ _____________
                                                                                                                                                                                                                           N.A.

                                                                             Regular income from operation of business or profession or farm                                                          0
                                                                                                                                                                                         $ _____________                   N.A.
                                                                                                                                                                                                                     $ _____________
                                                                             (attach detailed statement)
                                                                             Income from real property                                                                                                0
                                                                                                                                                                                         $ _____________                   N.A.
                                                                                                                                                                                                                     $ _____________
                                                                             Interest and dividends                                                                                      $ _____________
                                                                                                                                                                                                      0              $ _____________
                                                                                                                                                                                                                           N.A.
                                                                             Alimony, maintenance or support payments payable to the debtor for the
                                                                             debtor’s use or that of dependents listed above.                                                                         0
                                                                                                                                                                                         $ _____________                   N.A.
                                                                                                                                                                                                                     $ _____________
                                                                             Social security or other government assistance
                                                                             (Specify) _______________________________________________________________________                           $ _____________
                                                                                                                                                                                                      0              $ _____________
                                                                                                                                                                                                                           N.A.
                                                                             Pension or retirement income                                                                                             0
                                                                                                                                                                                         $ _____________                   N.A.
                                                                                                                                                                                                                     $ _____________
                                                                             Other monthly income
                                                                             (Specify) ___________________________________________________________________                               $ _____________
                                                                                                                                                                                                      0              $ _____________
                                                                                                                                                                                                                           N.A.
                                                                                       ___________________________________________________________________                               $ _____________
                                                                                                                                                                                                      0              $ _____________
                                                                                                                                                                                                                           N.A.

                                                                             TOTAL MONTHLY INCOME                                                                                                  2,496
                                                                                                                                                                                         $ _____________                   N.A.
                                                                                                                                                                                                                     $ _____________

                                                                             TOTAL COMBINED MONTHLY INCOME                                   2,496
                                                                                                                                    $ _____________                                          (Report also on Summary of Schedules)

                                                                             Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of
                                                                             this document:
                                                                                               Case 1-04-17182-jf       Doc 1      Filed 05/13/04      Entered 05/13/04 13:43:26


                                                                             FORM B6J
                                                                             (6/90)

                                                                                     Neil Sebastiano
                                                                             In re                                                            ,            Case No.
                                                                                                         Debtor                                                                   (If known)


                                                                                      SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTORS
                                                                                Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any
                                                                             payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.
                                                                                Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
                                                                             schedule of expenditures labeled "Spouse."

                                                                             Rent or home mortgage payment (include lot rented for mobile home)                                      $                937
                                                                             Are real estate taxes included?          Yes                No
                                                                             Is property insurance included?          Yes                No
                                                                             Utilities   Electricity and heating fuel                                                                $                 75
                                                                                         Water and sewer                                                                             $                  0
                                                                                         Telephone                                                                                   $                150
                                                                                         Other      cable                                                                            $                 25
                                                                             Home maintenance (Repairs and upkeep)                                                                   $                 25
                                                                             Food                                                                                                    $                550
                                                                             Clothing                                                                                                $                130
                                                                             Laundry and dry cleaning                                                                                $                 80
                                                                             Medical and dental expenses                                                                             $                100
                                                                             Transportation (not including car payments)                                                             $                200
                                                                             Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                150
                                                                             Charitable contributions                                                                                $                 40
                                                                             Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                                                                                                                        0
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                                                                                         Homeowner's or renter's                                                                     $
                                                                                         Life                                                                                        $                  0
                                                                                         Health                                                                                      $                  0
                                                                                         Auto                                                                                        $                112
                                                                                         Other                                                                                       $                  0
                                                                             Taxes (not deducted from wages or included in home mortgage payments)
                                                                             (Specify)                                                                                               $                 0
                                                                             Installment payments (In chapter 12 and 13 cases, do not list payments to be included in the plan)
                                                                                         Auto                                                                                        $                 0
                                                                                         Other                                                                                       $                 0
                                                                                         Other                                                                                       $                 0
                                                                             Alimony, maintenance, and support paid to others                                                        $                 0
                                                                             Payments for support of additional dependents not living at your home                                   $                 0
                                                                             Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                 0
                                                                             Other                                                                                                   $                 0

                                                                             TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                            $            2,574

                                                                             (FOR CHAPTER 12 AND 13 DEBTORS ONLY)
                                                                             Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually,
                                                                             or at some other regular interval.
                                                                             A. Total projected monthly income                                                                 $            N.A.
                                                                             B. Total projected monthly expenses                                                               $            N.A.
                                                                             C. Excess income (A minus B)                                                                      $            N.A.
                                                                             D. Total amount to be paid into plan each                     N.A.                                $            N.A.
                                                                                                                                           (interval)
                                                                                                      Case 1-04-17182-jf                     Doc 1          Filed 05/13/04                Entered 05/13/04 13:43:26


                                                                             Official Form 6-Cont.
                                                                             (12/03)


                                                                                          Neil Sebastiano
                                                                                  In re                                                                                 ,                          Case No.
                                                                                                                         Debtor                                                                                               (If known)




                                                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                                                                                                                                                                                                                    14

                                                                             sheets and that they are true and correct to the best of my knowledge, information and belief.            (Total shown on summary page plus 1)

                                                                                    5/3/04                                                                                       /s/ Neil Sebastiano
                                                                             Date                                                                                Signature
                                                                                                                                                                                                           Debtor

                                                                                                                                                                                                        Not Applicable
                                                                             Date                                                                                Signature
                                                                                                                                                                                                   (Joint Debtor, if any)
                                                                                                                                                                 [If joint case, both spouses must sign]




                                                                             - - - - - - - - - - - - CERTIFICATION
                                                                                                     - - - - - - - - -AND
                                                                                                                       - - SIGNATURE
                                                                                                                           - - - - - - -OF- NON-ATTORNEY
                                                                                                                                            - - - - - - - - -BANKRUPTCY
                                                                                                                                                              - - - - - - -PETITION
                                                                                                                                                                            - - - - - PREPARER
                                                                                                                                                                                      - - - - - -(See
                                                                                                                                                                                                  - -11- U.S.C.
                                                                                                                                                                                                         - - - §- 110)
                                                                                                                                                                                                                   --------
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for compensation, and that I have provided the debtor with a
                                                                             copy of this document.


                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                                Social Security No.
                                                                                                                                                                                  (Required by 11 U.S.C. § 110(c).)
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                                                                             Address
                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                                         Date


                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11
                                                                             U.S.C. § 110; 18 U.S.C. §156.

                                                                             -------------------------------------------------------------------------
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                                                                             Form 7
                                                                             (12/03)                            FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                       EASTERN DISTRCIT OF NEW YORK



                                                                             In Re     Neil Sebastiano                                            Case No.
                                                                                                    (Name)                                                                        (if known)
                                                                                                                     Debtor

                                                                                                                      STATEMENT OF FINANCIAL AFFAIRS

                                                                                      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on
                                                                             which the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor
                                                                             must furnish information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or
                                                                             self-employed professional, should provide the information requested on this statement concerning all such activities as
                                                                             well as the individual's personal affairs.

                                                                                   Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                             must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                             additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
                                                                             name, case number (if known), and the number of the question.



                                                                                                                                DEFINITIONS
                                                                                  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
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                                                                             individual debtor is "in business" for the purpose of this form if the debtor is or has been, within the six years immediately
                                                                             preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
                                                                             percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership;
                                                                             a sole proprietor or self-employed.

                                                                                  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                             their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any
                                                                             owner of 5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the
                                                                             debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.




                                                                                        1.   Income from employment or operation of business

                                                                             None       State the gross amount of income the debtor has received from employment, trade, or profession, or from
                                                                                        operation of the debtor's business from the beginning of this calendar year to the date this case was commenced.
                                                                                        State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor
                                                                                        that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report
                                                                                        fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year) If a joint petition is filed,
                                                                                        state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state
                                                                                        income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                        petition is not filed.)

                                                                                        AMOUNT                                           SOURCE (if more than one)

                                                                                 2004               10210      employment
                                                                                       Case 1-04-17182-jf              Doc 1        Filed 05/13/04            Entered 05/13/04 13:43:26




                                                                                   2003               44374       "

                                                                                   2002               41203       "

                                                                                          2.   Income other than from employment or operation of business

                                                                                None      State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                          of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                          particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
                                                                                          chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the
                                                                                          spouses are separated and a joint petition is not filed.)

                                                                                           AMOUNT                                                            SOURCE


                                                                                          3.   Payments to Creditors

                                                                                None      a.     List all payments on loans, installment purchases of goods or services, and other debts, aggregating more
                                                                                          than $600 to any creditor, made within 90 days immediately preceding the commencement of this case. (Married
                                                                                          debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a
                                                                                          joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF CREDITOR                                DATES OF                          AMOUNT         AMOUNT STILL
                                                                                                                                            PAYMENTS                            PAID            OWING




                                                                                None      b.    List all payments made within one year immediately preceding the commencement of this case to or for the
                                                                                          benefit of creditors, who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
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                                                                                          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                          separated and a joint petition is not filed.)


                                                                                    NAME AND ADDRESS OF                                     DATES OF                      AMOUNT PAID      AMOUNT STILL
                                                                             CREDITOR AND RELATIONSHIP TO DEBTOR                            PAYMENTS                                          OWING


                                                                                          4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                None      a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                          immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                          must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                          spouses are separated and a joint petition is not filed.)


                                                                                   CAPTION OF                    NATURE OF PROCEEDING                            COURT OR                        STATUS OR
                                                                             SUIT AND CASE NUMBER                                                           AGENCY AND LOCATION                  DISPOSITION
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                                                                             None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                      one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                      chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                      petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF                                      DATE OF                                     DESCRIPTION AND
                                                                              PERSON FOR WHOSE BENEFIT                                   SEIZURE                                    VALUE OF PROPERTY
                                                                                 PROPERTY WAS SEIZED


                                                                                      5.   Repossessions, foreclosures and returns

                                                                             None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                      lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this
                                                                                      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
                                                                                      either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                      petition is not filed.)


                                                                                 NAME AND                                  DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                ADDRESS OF                                  FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                             CREDITOR OR SELLER                            TRANSFER OR RETURN

                                                                             M&T Credit Corporation                          9/03                                              24 FT BAYLINER
                                                                             One Fountain Plaza, 3rd Fl.                                                                       10,000
                                                                             POB 4005
                                                                             Buffalo, NY 14203
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                                                                                      6. Assignments and Receiverships

                                                                             None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                      any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                      separated and a joint petition is not filed.)


                                                                                     NAME AND                                         DATE OF                                     TERMS OF
                                                                                      ADDRESS                                        ASSIGNMENT                                  ASSIGNMENT
                                                                                     OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                             None     b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                      13 must include information concerning property of either or both spouses whether or not a joint petition is
                                                                                      filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                     NAME AND                          NAME AND LOCATION                          DATE OF               DESCRIPTION AND
                                                                                      ADDRESS                          OF COURT CASE TITLE                         ORDER               VALUE OF PROPERTY
                                                                                    OF CUSTODIAN                            & NUMBER
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                                                                                      7.   Gifts

                                                                             None     List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                      case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                      member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under
                                                                                      chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint
                                                                                      petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                   NAME AND                              RELATIONSHIP                      DATE OF                  DESCRIPTION AND
                                                                                   ADDRESS OF                             TO DEBTOR,                        GIFT                     VALUE OF GIFT
                                                                             PERSON OR ORGANIZATION                         IF ANY


                                                                                      8.   Losses

                                                                             None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                      commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                      chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                      spouses are separated and a joint petition is not filed.)


                                                                                DESCRIPTION                           DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                             DATE OF
                                                                                AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                   LOSS
                                                                                OF PROPERTY                                  INSURANCE, GIVE PARTICULARS


                                                                                      9.   Payments related to debt counseling or bankruptcy

                                                                             None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
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                                                                                      for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                      bankruptcy within one year immediately preceding the commencement of this case.


                                                                                       NAME AND ADDRESS                         DATE OF PAYMENT,                             AMOUNT OF MONEY
                                                                                           OF PAYEE                             NAME OF PAYOR IF                             OR DESCRIPTION AND
                                                                                                                               OTHER THAN DEBTOR                             VALUE OF PROPERTY

                                                                             DONNA VLAHAKIS                                                                            750
                                                                             Hanna & Vlahakis



                                                                                      10. Other transfers

                                                                             None     List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                      of the debtor, transferred either absolutely or as security within one year immediately preceding the
                                                                                      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                      either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                      petition is not filed.)


                                                                               NAME AND ADDRESS OF TRANSFEREE,                                   DATE                           DESCRIBE PROPERTY
                                                                                   RELATIONSHIP TO DEBTOR                                                                       TRANSFERRED AND
                                                                                                                                                                                 VALUE RECEIVED
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                                                                                       11. Closed financial accounts

                                                                             None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                       were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this
                                                                                       case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares
                                                                                       and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and
                                                                                       other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
                                                                                       concerning accounts or instruments held by either or both spouses whether or not a joint petition is filed, unless
                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                                      NAME AND                                 TYPE OF ACCOUNT, LAST                                   AMOUNT AND
                                                                                       ADDRESS                                FOUR DIGITS OF ACCOUNT                                   DATE OF SALE
                                                                                    OF INSTITUTION                            NUMBER, AND AMOUNT OF                                     OR CLOSING
                                                                                                                                  FINAL BALANCE

                                                                                       12. Safe deposit boxes

                                                                             None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                       valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                       chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint
                                                                                       petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                         NAME AND                       NAMES AND ADDRESSES OF                DESCRIPTION OF             DATE OF
                                                                                      ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                 CONTENTS               TRANSFER OR
                                                                                    OR OTHER DEPOSITORY                     OR DEPOSITORY                                            SURRENDER, IF ANY


                                                                                       13. Setoffs
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                                                                             None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                       separated and a joint petition is not filed.)


                                                                                    NAME AND ADDRESS OF CREDITOR                                DATE                                AMOUNT
                                                                                                                                                 OF                                    OF
                                                                                                                                               SETOFF                                SETOFF

                                                                                       14. Property held for another person

                                                                             None      List all property owned by another person that the debtor holds or controls.


                                                                                        NAME AND                                DESCRIPTION AND                         LOCATION OF PROPERTY
                                                                                     ADDRESS OF OWNER                          VALUE OF PROPERTY
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                                                                                      15. Prior address of debtor
                                                                             None
                                                                                      If the debtor has moved within the two years immediately preceding the commencement of this case, list all
                                                                                      premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                      joint petition is filed, report also any separate address of either spouse.


                                                                                     ADDRESS                                        NAME USED                                  DATES OF OCCUPANCY



                                                                                      16. Spouses and Former Spouses
                                                                             None
                                                                                      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                      within the six-year period immediately preceding the commencement of the case, identify the name of the
                                                                                      debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                   NAME


                                                                                      17. Environmental Sites

                                                                                      For the purpose of this question, the following definitions apply:

                                                                                      "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                      releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                      or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                      wastes, or material.
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                                                                                                "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                             None
                                                                                      a. List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                      governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                     SITE NAME                        NAME AND ADDRESS                       DATE OF                 ENVIRONMENTAL
                                                                                    AND ADDRESS                     OF GOVERNMENTAL UNIT                      NOTICE                      LAW


                                                                                      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                             None


                                                                                     SITE NAME                        NAME AND ADDRESS                       DATE OF                 ENVIRONMENTAL
                                                                                    AND ADDRESS                     OF GOVERNMENTAL UNIT                      NOTICE                      LAW
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                                                                                                c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is
                                                                                    None        or was a party to the proceeding, and the docket number.


                                                                                               NAME AND ADDRESS                                        DOCKET NUMBER                                       STATUS OR DISPOSITION
                                                                                             OF GOVERNMENTAL UNIT


                                                                                                18. Nature, location and name of business

                                                                                    None        a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner,
                                                                                                or managing executive of a corporation, partnership, sole proprietorship, or was a self-employed professional
                                                                                                within the six years immediately preceding the commencement of this case, or in which the debtor owned 5
                                                                                                percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                of this case.

                                                                                                                    If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature
                                                                                                            of the businesses, and beginning and ending dates of all businesses in which the debtor was a partner or
                                                                                                            owned 5 percent or more of the voting or equity securities, within the six years immediately preceding
                                                                                                            the commencement of this case.

                                                                                                                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of
                                                                                                            the businesses, and beginning and ending dates of all businesses in which the debtor was a partner or
                                                                                                            owned 5 percent or more of the voting or equity securities within the six years immediately preceding
                                                                                                            the commencement of this case.

                                                                                      NAME                           TAXPAYER                       ADDRESS                         NATURE OF BUSINESS BEGINNING AND
                                                                                                                    I.D. NO. (EIN)                                                                     ENDING DATES
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                                                                                                b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in
                                                                                                11 U.S.C. § 101.
                                                                                    None


                                                                                                NAME                                                                                             ADDRESS




                                                                                                              [Questions 19 - 25 are not applicable to this case]
                                                                                                                                        *     *    *    *     *    *


                                                                                    [If completed by an individual or individual and spouse]

                                                                                    I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
                                                                                    and that they are true and correct.
                                                                                    5/3/04                                                                                 /s/ Neil Sebastiano
                                                                             Date                                                                 Signature
                                                                                                                                                  of Debtor                NEIL SEBASTIANO
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                                                                             - - - - - - - - - - CERTIFICATION
                                                                                                  - - - - - - - - -AND
                                                                                                                    - -SIGNATURE
                                                                                                                        - - - - - - OF
                                                                                                                                    - -NON-ATTORNEY
                                                                                                                                        - - - - - - - - BANKRUPTCY
                                                                                                                                                        - - - - - - - -PETITION
                                                                                                                                                                        - - - - -PREPARER
                                                                                                                                                                                  - - - - - -(See
                                                                                                                                                                                               - -11-U.S.C.
                                                                                                                                                                                                      - - - §-110)
                                                                                                                                                                                                               ----------
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for compensation, and that I have provided the
                                                                             debtor with a copy of this document.


                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                                Social Security No.
                                                                                                                                                                                  (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                                         Date


                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
                                                                             or both. 11 U.S.C. § 110; 18 U.S.C. §156.

                                                                             -------------------------------------------------------------------------
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                                                                                                                                              0 continuation sheets attached
                                                                                                                                            _____


                                                                                               Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571
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                                                                             Form B8 (Official Form 8)
                                                                             (12/03)
                                                                                                          Form 8. INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                  UNITED STATES BANKRUPTCY COURT
                                                                                                                                       Eastern Distrcit of New York



                                                                             In re      Neil Sebastiano                                              ,              Case No.
                                                                                                                                 Debtor
                                                                                                                                                                    Chapter           Chapter 7

                                                                                                          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                     1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

                                                                                     2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

                                                                                           a. Property to Be Surrendered.
                                                                                           Description of Property                                               Creditor's name
                                                                             NONE




                                                                                           b. Property to Be Retained.                                               [Check any applicable statement.]


                                                                                                                                                                                            Property will     Debt will be
                                                                             Description                                                                                 Property           be redeemed       reaffirmed
                                                                             of                                             Creditor's                                   is claimed         pursuant to       pursuant to
                                                                             Property                                       name                                         as exempt          11 U.S.C. § 722   11 U.S.C. § 524(c)

                                                                             NONE
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                                                                             Date:         5/3/04                                          /s/ Neil Sebastiano
                                                                                                                                           Signature of Debtor            NEIL SEBASTIANO


                                                                             -------------------------------------------------------------------------
                                                                                                     CERTIFICATION OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for
                                                                             compensation, and that I have provided the debtor with a copy of this document.

                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                  Social Security No.
                                                                                                                                                                    (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security Numbers of all other individuals who prepared or assisted in preparing this document.

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form
                                                                             for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                           Date

                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
                                                                             Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. §156.
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                                        UNITED STATES BANKRUPTCY COURT
                                             Eastern Distrcit of New York


      In re   Neil Sebastiano                                ,
                                             Debtor                     Case No.

                                                                        Chapter     7




                         DISCLOSURE OF COMPENSATION -- Rule 2016 (b)

              1. Pursuant to 11 U.S.C. §329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for
      the above-names debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is $750.

                2. The source of the compensation paid, or to be paid to me was the debtor.

            3. I have not agreed to share the above-disclosed compensation with any other person unless they are
      members and associates of my law firm.

      Date 5/3/04                      Signature      /s/ Donna Vlahakis
                                                      _______________________________
                                                                   Donna Vlahakis, Bar No. DV7654




   Donna Vlahakis
HANNA & VLAHAKIS
  7504 Fifth Avenue
 Brooklyn, NY 11209
    718-680-8400
    718-745-6916
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                                   UNITED STATES BANKRUPTCY COURT
                                        Eastern Distrcit of New York


In re     Neil Sebastiano                               ,
                                        Debtor                     Case No.

                                                                   Chapter    7




                    STATMENT PURSUANT TO ED LOCAL BANKRUPTCY RUL 2017-1

           Donna Vlahakis, an attorney duly admitted to practice in this Court, States:

        1: That I am a member of the law firm of HANNA & VLAHAKIS, attorneys for the above named
debtor(s).

       2. That prior to the filing of the petition herein, our law firm rendered the following services to the
above named debtor(s).

           DATE                   SERVICE                                         TIME
                                  Initial interview consultation
        4/2/04                    concerning chapter 13 or 7 option,
                                  Analyses of financial condition,
                                  prepared client for 341meeting,                 1.5

        4/21/04                   Preparation of bankruptcy petition              1.5

       3. That our law firm will also represent the debtor(s) at the first meeting of creditors, and
confirmation hearing.

       4. That all services rendered prior to the filing of the petition herein were rendered personally by
myself and by Derrick Hanna. All Cases are supervised by me.

        5. That the usual rate of compensation of this firm is $250.00 per hour however; we charge a flat
rate of $750.00 individual Chapter 7 and $850.00 for a joint Chapter 7 Bankruptcy.


Dated: Brooklyn, New York

   5/3/04
                                                                 /s/ Donna Vlahakis
                                                                 DONNA VLAHAKIS (DV7654)
                                                            HANNA & VLAHAKIS
                                                                 7504 Fifth Avenue
                                                                 Brooklyn, N.Y. 11209
                                                                 (718) 680-8400
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                                               UNITED STATES BANKRUPTCY COURT
                                                    Eastern Distrcit of New York


      In re      Neil Sebastiano                                         ,
                                                      Debtor                          Case No.

                                                                                      Chapter       7



                                               VERIFICATION OF LIST OF CREDITORS


              I hereby certify under penalty of perjury that the attached List of Creditors which consists of 1 page, is true, correct

      and complete to the best of my knowledge.



                  5/3/04                                                            /s/ Neil Sebastiano
      Date                                                       Signature
                                                                 of Debtor          NEIL SEBASTIANO




   Donna Vlahakis
HANNA & VLAHAKIS
  7504 Fifth Avenue
 Brooklyn, NY 11209
    718-680-8400
    718-745-6916
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                                      UNITED STATES BANKRUPTCY COURT
                                           Eastern Distrcit of New York


In re   Neil Sebastiano                                       ,
                                            Debtor                          Case No.

                                                                            Chapter      7




        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following
disclosure concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1and E.D.N.Y. LBR 1073-2 if the
earlier case was pending at any time within six years before the filing of the new petition, and the debtors in such cases: (i)
are the same; (ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2) ; (iv) are general partners
in the same partnership; (v) are a partnership and one or more of its general partners; (vi) are partnerships which share
one or more common general partners; or (vii) have, or within 180 days of the commencement of either of the Related
Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

_X__NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

___THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.:_____________ JUDGE:_____________ DISTRICT/DIVISION:_____________

CASE STILL PENDING (Y/N)___ [If closed] Date of closing:____________

CURRENT STATUS OF RELATED CASE:_________________________________________________
                           (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):____________________________

REAL PROPERTY LISTED IN DEBTORS'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN SCHEDULE
"A" OF RELATED CASE:___________________________________________

________________________________________________________________________________

2. CASE NO.:_____________ JUDGE:_____________ DISTRICT/DIVISION:_____________

CASE STILL PENDING (Y/N)___ [If closed] Date of closing:______________

CURRENT STATUS OF RELATED CASE:________________________________________________
                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above]:___________________________

REAL PROPERTY LISTED IN DEBTORS'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN SCHEDULE
"A" OF RELATED CASE:___________________________________________

_________________________________________________________________________________
             Case 1-04-17182-jf          Doc 1      Filed 05/13/04        Entered 05/13/04 13:43:26




3. CASE NO.:_____________ JUDGE:_____________ DISTRICT/DIVISION:_____________

CASE STILL PENDING (Y/N):___ [If closed] Date of closing:________________________

CURRENT STATUS OF RELATED CASE:_________________________________________________
                          (Discharged /awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):____________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN SCHEDULE
"A" OF RELATED CASE:____________________________________________

_________________________________________________________________________________

NOTE: Pursuant to 11 U.S.C. §109(g), certain individuals who have had prior cases dismissed within the preceding 180
days may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her
eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):___Y___

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at
any time, except as indicated elsewhere on this form.


/s/ Donna Vlahakis                                                   ________________________________
Signature of Debtor's Attorney                               Signature of Pro Se Debtor/Petitioner

                                                                      ________________________________
                                                                      Mailing Address of Debtor/Petitioner

                                                                      ________________________________
                                                                      City, State, Zip Code

                                                                      ________________________________
                                                                      Area Code and Telephone Number

Failure fo fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the
debtor or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the
appointment of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.
